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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )          4:06CR3023
                                             )
                     Plaintiff,              )
                                             )
       vs.                                   )
                                             )          ORDER
CHARLES BOWERS,                              )
                                             )
                     Defendant.              )


       On the oral motion of the government, and with the agreement of the defendant,

       IT IS ORDERED that the defendant’s sentencing is continued to Thursday, August
9, 2007, at 1:00 p.m., before the undersigned United States district judge, in Courtroom No.
1, Robert V. Denney Federal Building and U.S. Courthouse, Lincoln, Nebraska. The
defendant shall be present unless excused by the court.

       June 22, 2007.                     BY THE COURT:

                                          s/ Richard G. Kopf
                                          United States District Judge
